

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-58,512-03






EX PARTE BOLIVER STEWART TAYLOR, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 28634CR/B IN THE 40TH JUDICIAL DISTRICT COURT


FROM ELLIS COUNTY





	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of unlawful restraint
and sentenced to ten years' imprisonment.  

	Applicant contends, inter alia,  that his counsel rendered ineffective assistance because 
counsel advised him to waive his right to appeal.  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance
of counsel.  Specifically, trial counsel shall respond as to why she advised Applicant to waive his
right to appeal, despite having received the maximum sentence on a plea of "not guilty."  The trial
court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate
case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant was advised by trial
counsel to waive his right to appeal, and if so, why counsel advised Applicant to do so.  The trial
court shall also make any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed:  September 22, 2010

Do not publish


